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 Attorneys for Plaintiff and the Putative Class

                       UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH


  JESS COLLINS, individually and on behalf
  of all others similarly situated,
                       Plaintiff,
                                                    CLASS ACTION COMPLAINT
         v.
                                                    JURY TRIAL DEMANDED
  THE ECONOMIST NEWSPAPER NA,
  INC.,
                       Defendant.                   Case No. 2:23-cv-878
                                                    Honorable __________________
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       Plaintiff Jess Collins, individually and on behalf of all others similarly

 situated, makes the following allegations pursuant to the investigation of her counsel

 and based upon information and belief, except as to allegations specifically

 pertaining to herself and her counsel, which are based on personal knowledge.

                                 INTRODUCTION

       1.      Defendant The Economist Newspaper NA, Inc. (“TEN”) rented, sold,

 and/or otherwise disclosed for compensation detailed information about Plaintiff’s

 purchase of a subscription to Defendant's newspaper The Economist to data

 aggregators, data appenders, data cooperatives, list brokers, political organizations,

 and non-profit companies. As a result, Plaintiff has received a barrage of unwanted

 junk mail.   By renting, selling, and/or otherwise disclosing for compensation

 Plaintiff’s Private Purchase Information (defined below), without providing Plaintiff

 prior notice of these disclosures, TEN violated Utah’s Notice of Intent to Sell

 Nonpublic Personal Information Act, Utah Code Ann. § 13-37 (the “NISNPIA”).

       2.      Documented evidence confirms these facts.         For example, TEN,

 through list broker NextMark, Inc. (“NextMark”), offers to provide renters access to

 the mailing list titled “The Economist Mailing List”, which contains the Private

 Purchase Information of all 126,219 of Defendant’s recent U.S. purchasers at a base

 price of “$155.00/M [per thousand],” (i.e., 15.5 cents apiece), as shown in the

 screenshot below:


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 See Exhibit A hereto.

       3.      By renting, selling, or otherwise disclosing for compensation the

 Private Purchase Information of its customers to third parties, without providing its

 customers prior notice of such practices, TEN violated the NISNPIA. Subsection 2

 of the NISNPIA provides:

              A commercial entity may not disclose nonpublic personal
              information that the commercial entity obtained on or after
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              January 1, 2004, as a result of a consumer transaction if
              the commercial entity fails to comply with [the provisions
              requiring that prior notice of such disclosures be provided
              to the consumer, as set forth in] Section 13-37-201.

 Utah Code Ann. § 13-37-202(1).

       4.      Accordingly, Plaintiff brings this Class Action Complaint against TEN

 for its intentional, systematic, and unlawful disclosures of its customers’ Private

 Purchase Information in violation of the NISNPIA.

                             NATURE OF THE CASE

       5.      To supplement its revenues, TEN rents, sells, or otherwise discloses

 for compensation its customers’ information—including their full names, home

 addresses, and fact that the listed individuals are purchasers of Defendant’s products

 (collectively “Private Purchase Information”), as well as myriad other categories of

 individualized data and demographic information such as age, income, gender, and

 lifestyle information—to data aggregators, data appenders, data cooperatives,

 aggressive advertisers, and other third parties without the written consent of its

 customers.

       6.      TEN’s disclosure of Private Purchase Information and other

 individualized information is not only unlawful, but also dangerous because it allows

 for the targeting of particularly vulnerable members of society.

       7.      While TEN profits handsomely from the unauthorized rentals, sales,

 and/or other compensation-driven disclosures of its customers’ Private Purchase
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 Information, it does so at the expense of its customers’ statutory privacy rights

 (afforded by the NISNPIA) because TEN does not provide any prior notice of such

 disclosures to its customers (much less obtain their consent) prior to disclosing their

 Private Purchase Information to third parties for compensation.

                                      PARTIES

        8.     Plaintiff Jess Collins is a natural person and citizen and resident of,

 and domiciled in, Salt Lake City, Utah. In or about March 2022 (among other

 occassions), while a resident of and physically present in Utah, Plaintiff purchased

 a subscription to Defendant's newspaper The Economist from Defendant. Prior to

 and at the time Plaintiff made her purchase, TEN did not notify Plaintiff that it

 discloses the Private Purchase Information of its customers, and Plaintiff has never

 authorized TEN to do so. Furthermore, Plaintiff was never provided any written

 notice that TEN rents, sells, or otherwise discloses for compensation its customers’

 Private Purchase Information, or any means of opting out. Since making a purchase

 from TEN, TEN disclosed, without providing Plaintiff the prior notice required by

 Utah Code Ann. § 13-37-201, Plaintiff’s Private Purchase Information to data

 aggregators, data appenders, and/or data cooperatives, who then supplemented that

 information with data from their own files. Moreover, during that same period, TEN

 rented, sold, or otherwise disclosed for compensation lists containing Plaintiff’s

 Private Purchase Information to third parties seeking to contact TEN’s customers for


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 their own independent business purposes, all without providing Plaintiff the prior

 notice required by Utah Code Ann. § 13-37-201 of such rentals, sales, and/or other

 disclosures of her information for compensation.

        9.     Defendant The Economist Newspaper NA, Inc. is a Delaware

 corporation that maintains its headquarters and principal place of business in New

 York, New York and a place of business in Utah at Terminal C of the Salt Lake

 International Airport, located at 776 N Terminal Dr, Salt Lake City, Utah 84122.

 TEN does business throughout Utah and the entire United States. TEN is a publisher

 and distributor of books, periodicals, and newspapers, including The Economist.

                          JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this civil action

 pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

 the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

 and costs, and at least one Class member is a citizen of a state different from

 Defendant.

       11.     The Court has personal jurisdiction over TEN because Plaintiff’s

 claims arose in substantial part from actions and omissions in Utah, including from

 Plaintiff’s purchases of subscriptions to Defendant's newspaper The Economist

 while Plaintiff resided in Utah, TEN’s direction of such products into Utah, and

 TEN’s failure to provide to Plaintiff, in Utah, the notice required by Utah Code Ann.


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 § 13-37-201 before disclosing her Private Purchase Information, including her

 residential address in Utah, to other persons, the effects of which were felt from

 within Utah by a citizen and resident of Utah. Personal jurisdiction also exists over

 TEN in Utah because TEN is registered to do business in Utah, maintains a place of

 business in Utah, and conducts substantial business within Utah, such that TEN has

 significant, continuous, and pervasive contacts with Utah.

        12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

 Plaintiff resides in this judicial District, TEN does substantial business in this

 judicial District, TEN is subject to personal jurisdiction in this judicial District, and

 a substantial part of the events giving rise to Plaintiff’s claims took place within this

 judicial District.

                            FACTUAL BACKGROUND

        Utah’s Notice of Intent to Sell Nonpublic Personal Information Act

        13.     Pursuant to the NISNPIA, “[a] commercial entity may not disclose

 nonpublic personal information that the commercial entity obtained on or after

 January 1, 2004, as a result of a consumer transaction if the commercial entity fails

 to comply with Section 13-37-201.” Utah Code Ann. § 13-37-202.

        14.      A “commercial entity” is a person that “has an office or other place

 of business located in [Utah]” and “in the ordinary course of business transacts a

 consumer transaction in [Utah].” Id. § 13-37-102(2)(a).


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       15.      “Consumer transaction” means, inter alia, “a sale, lease, assignment,

 award by chance, or other written or oral transfer or disposition . . . of[] goods[,]

 services[,] or other tangible or intangible property, . . . that is initiated or completed

 in [Utah].” Id. § 13-37-102(4)(a)(i).

       16.      “Nonpublic personal information” means “information that . . . is not

 public information” and, “either alone or in conjunction with public information,

 identifies a person in distinction from other persons.” Id. § 13-37-102(5)(a).

 “Nonpublic personal information” expressly includes, inter alia, “the purchasing

 patterns of a person” or “the personal preferences of a person.” Id. § 13-37-

 102(5)(b)(iii)-(iv).

       17.      A commercial entity “is considered to have obtained information as a

 result of a consumer transaction if . . . the person provides the information to the

 commercial entity . . . at any time during the consumer transaction . . . and at the

 request of the commercial entity,” or if “the commercial entity otherwise obtains the

 information . . . and but for the consumer transactions, the commercial entity would

 not obtain the information.” Id. § 13-37-201(1)(b).

       18.      Section 13-37-201 of the NISNPIA requires a commercial entity to

 provide the consumer with a notice, in the form set forth in that section, if

 “the commercial entity enters into a consumer transaction with that person[,]” “as a

 result of the consumer transaction . . . , the commercial entity obtains nonpublic


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 personal information concerning that person[,] and “the commercial entity intends

 to or wants the ability to disclose the nonpublic personal information . . . to a third

 party . . . for compensation,” where such compensation “is the primary consideration

 for the commercial entity disclosing the nonpublic personal information,” is

 “directly related to the commercial entity disclosing the nonpublic personal

 information,” and “is not compensation received by the commercial entity in

 consideration of a transaction [wherein a third party provides the commercial entity

 with: “(i) services, including business outsource services; (ii) personal or real

 property; or (iii) other thing of value”]).” Id. § 13-37-201(1)(a); § 13-37-201(5) .

       19.     The notice required by section 13-37-201 of the NISNPIA “shall read

 substantially as follows: ‘We may choose to disclose nonpublic personal

 information about you, the consumer, to a third party for compensation.” ).” Id. §

 13-37-201(3)(a). The notice may be provided either “orally, if the consumer

 transaction itself is entirely conducted orally[,] or . . . in writing, if the notice is

 written in dark bold.” Id. § 13-37-201(3)(b). In either case, the notice “shall be

 sufficiently conspicuous so that a reasonable person would perceive the notice

 before providing the nonpublic personal information.” Id. § 13-37-201(3)(c). The

 notice “shall be given before the earlier of . . . the point at which the person is

 requested to provide the nonpublic personal information[] or . . . the commercial

 entity otherwise obtains the nonpubllic personal information as a result of the


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 consumer transaction[.]” Id. § 13-37-201(2).

       20.     The NISNPIA entitles consumers who suffer violations of the statute

 to recover, inter alia, “$500 for each time the commercial entity fails to provide the

 notice required by this section in relation to the nonpublic personal information of

 the person who brings the action.” Id. § 13-37-203.

       21.     Despite the fact that TEN has initiated or completed thousands of sales

 of its products to consumers in Utah, TEN disregarded its legal responsibility to

 these individuals by systematically violating the NISNPIA.

                        The Private Information Market:
                  Consumers’ Private Information Has Real Value

       22.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

 Swindle remarked that “the digital revolution . . . has given an enormous capacity

 to the acts of collecting and transmitting and flowing of information, unlike anything

 we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

 defined by the existing data on themselves.”1

       23.     More than two decades later, Commissioner Swindle’s comments ring

 truer than ever, as consumer data feeds an information marketplace that supports a


 1      Exhibit B, The Information Marketplace: Merging and Exchanging
 Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
 https://www.ftc.gov/sites/default/files/documents/public_events/information-
 marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
 July 30, 2021).

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 $26 billion dollar per year online advertising industry in the United States.2

       24.     The FTC has also recognized that consumer data possesses inherent

 monetary value within the new information marketplace and publicly stated that:

              Most consumers cannot begin to comprehend the types
              and amount of information collected by businesses, or why
              their information may be commercially valuable. Data is
              currency. The larger the data set, the greater potential for
              analysis—and profit.3

       25.     In fact, an entire industry exists while companies known as data

 aggregators purchase, trade, and collect massive databases of information about

 consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

 information in an open and largely unregulated market.4

       26.     The scope of data aggregators’ knowledge about consumers is

 immense: “If you are an American adult, the odds are that [they] know[] things like

 your age, race, sex, weight, height, marital status, education level, politics, buying


 2       See Exhibit C, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
 http://online.wsj.com/article/SB10001424052748703529004576160764037920274
 .html (last visited July 30, 2021).

 3       Exhibit D, Statement of FTC Commissioner Pamela Jones Harbour (Dec.
 7, 2009), at 2, available at
 https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
 exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
 2021) (emphasis added).
 4    See Exhibit E, Martha C. White, Big Data Knows What You’re Doing Right
 Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
 knows-what-youre-doing-right-now/ (last visited July 30, 2021).
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 habits, household health worries, vacation dreams—and on and on.”5

       27.    Further, “[a]s use of the Internet has grown, the data broker industry

 has already evolved to take advantage of the increasingly specific pieces of

 information about consumers that are now available.”6

       28.    Recognizing the serious threat the data mining industry poses to

 consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

 Partisan Privacy Caucus sent a letter to nine major data brokerage companies

 seeking information on how those companies collect, store, and sell their massive

 collections of consumer data.7

       29.    In their letter, the co-Chairmen recognized that “[b]y combining data

 from numerous offline and online sources, data brokers have developed hidden



 5      Exhibit F, Natasha Singer, You for Sale: Mapping, and Sharing, the
 Consumer Genome, N.Y. Times (June 16, 2012), available at
 https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
 6S.pdf (last visited July 30, 2021).
 6      Exhibit G, Letter from Senator John D. Rockefeller IV, Chairman, Senate
 Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
 Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
 http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
 4157-a97b-a658c3c3061c (last visited July 30, 2021).
 7       See Exhibit H, Bipartisan Group of Lawmakers Query Data Brokers About
 Practices Involving Consumers’ Personal Information, Website of Senator Ed
 Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
 releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
 involving-consumers-personal-information (last visited July 30, 2021).

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 dossiers on every U.S. consumer,” which “raises a number of serious privacy

 concerns.”8

       30.     Data aggregation is especially troublesome when consumer

 information is sold to direct-mail advertisers. In addition to causing waste and

 inconvenience, direct-mail advertisers often use consumer information to lure

 unsuspecting consumers into various scams,9 including fraudulent sweepstakes,

 charities, and buying clubs. Thus, when companies like share information with data

 aggregators, data cooperatives, and direct-mail advertisers, they contribute to the

 “[v]ast databases” of consumer data that are often “sold to thieves by large publicly

 traded companies,” which “put[s] almost anyone within the reach of fraudulent

 telemarketers” and other criminals.10

       31.     Information disclosures like those made by TEN are particularly

 dangerous to the elderly. “Older Americans are perfect telemarketing customers,

 analysts say, because they are often at home, rely on delivery services, and are lonely



 8      Id.

 9    See   Exhibit    I,   Prize     Scams,     Federal    Trade      Commission,
 http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).

 10     Exhibit J, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
 N.Y. Times, May 20, 2007, available at
 http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
 2021).

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 for the companionship that telephone callers provide.”11 The FTC notes that “[t]he

 elderly often are the deliberate targets of fraudulent telemarketers who take

 advantage of the fact that many older people have cash reserves or other assets to

 spend on seemingly attractive offers.”12 Indeed, an entire black market exists where

 the private information of vulnerable elderly Americans is exchanged.

       32.       Thus, information disclosures like TEN’s are particularly troublesome

 because of their cascading nature: “Once marked as receptive to [a specific] type of

 spam, a consumer is often bombarded with similar fraudulent offers from a host of

 scam artists.”13

       33.       TEN is not alone in jeopardizing its customers’ privacy and well-

 being in exchange for increased revenue: disclosing customer information to data

 aggregators, data appenders, data cooperatives, direct marketers, and other third

 parties for compensation is a widespread practice in the consumer-products

 industries.



 11    Id.

 12     Exhibit K, Fraud Against Seniors: Hearing before the Senate Special
 Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
 at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
 statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
 visited July 30, 2021).
 13    See id.

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       34.     Thus, as consumer data has become an ever-more valuable

 commodity, the data mining industry has experienced rapid and massive growth.

 Unfortunately for consumers, this growth has come at the expense of their most

 basic privacy rights.

              Consumers Place Monetary Value on Their Privacy and
               Consider Privacy Practices When Making Purchases

       35.     As the data aggregation and cooperative industry has grown, so too

 have consumer concerns regarding the privacy of their information.

       36.     A recent survey conducted by Harris Interactive on behalf of

 TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

 with companies who they believe do not protect their privacy online.14 As a result,

 81 percent of smartphone users polled said that they avoid using smartphone apps

 that they don’t believe protect their privacy online.15

       37.     Thus, as consumer privacy concerns grow, consumers are increasingly

 incorporating privacy concerns and values into their purchasing decisions and

 companies viewed as having weaker privacy protections are forced to offer greater



 14    See Exhibit L, 2014 TRUSTe US Consumer Confidence Privacy Report,
 TRUSTe,                                      http://www.theagitator.net/wp-
 content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
 30, 2021).
 15    Id.

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 value elsewhere (through better quality and/or lower prices) than their privacy-

 protective competitors.

       38.      In fact, consumers’ private information has become such a valuable

 commodity that companies are beginning to offer individuals the opportunity to sell

 their information themselves.16

       39.      These companies’ business models capitalize on a fundamental tenet

 underlying the consumer information marketplace: consumers recognize the

 economic value of their private data. Research shows that consumers are willing to

 pay a premium to purchase services from companies that adhere to more stringent

 policies of protecting their data.17

       40.      Thus, in today’s economy, individuals and businesses alike place a

 real, quantifiable value on consumer data and corresponding privacy rights.18


 16     See Exhibit M, Joshua Brustein, Start-Ups Seek to Help Users Put a Price
 on Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
 http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
 price-on-their-personal-data.html (last visited July 30, 2021).

 17      See Exhibit N, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
 Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
 254, 254 (2011); see also European Network and Information Security Agency,
 Study on monetising privacy (Feb. 27, 2012), available at
 https://www.enisa.europa.eu/activities/identity-and-
 trust/library/deliverables/monetising-privacy (last visited July 30, 2021).

 18   See Exhibit O, Hann, et al., The Value of Online Information Privacy: An
 Empirical Investigation (Oct. 2003) at 2, available at

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      TEN Unlawfully Rents and Otherwise Discloses for Compensation Its
                 Customers’ Private Purchase Information

       41.     TEN maintains a vast digital database comprised of its customers’

 Private Purchase Information. TEN discloses for compensation its customers’

 Private Purchase Information to data aggregators and appenders, who then

 supplement that information with additional sensitive private information about

 each of its customers, including his or her age, income, gender, and lifestyle

 information. (See, e.g., Exhibit A).

       42.     TEN then rents and/or otherwise discloses for compensation its

 customer lists—which include all of its customers’ Private Purchase Information,

 identifying which individuals purchased TEN’s products, and can include the other

 sensitive information obtained from data aggregators and appenders—to other data

 aggregators and appenders, other consumer-facing businesses, non-profit

 organizations seeking to raise awareness and solicit donations, and to political

 organizations soliciting donations, votes, and volunteer efforts. (See Exhibit A).

       43.     TEN also discloses for compensation its customers’ Private Purchase

 Information to data cooperatives, who in turn give TEN access to their own list

 databases.




 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
 pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether
 consumers value online privacy. It is obvious that people value online privacy.”).
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       44.     In short, TEN disclosed and continues to disclose its customers’

 Private Purchase Information to anybody willing to pay for it.

       45.     As a result of TEN’s data compiling and sharing practices, companies

 can purchase, rent, or otherwise obtain mailing lists from TEN that identify TEN’s

 customers by their most intimate details, including their personal preferences and

 purchasing habits. TEN’s disclosures of such sensitive and private information puts

 consumers, especially the more vulnerable members of society, at risk of serious

 harm from scammers.

       46.     TEN failed to provide prior notice of these disclosures to its customers

 as required by Utah Code Ann. 13-37-201, much less obtain their consent prior to

 making such disclosures. As a result, TEN’s customers in Utah (and elsewhere

 throughout the country) remain unaware that their Private Purchase Information and

 other sensitive information is being rented, sold, and otherwise disclosed for

 compensation on the open market.

       47.     Consumers purchase TEN’s products through numerous media

 outlets, including the Internet, telephone, or traditional mail. Regardless of how the

 consumer makes a purchase, during the applicable statutory period TEN uniformly

 failed to provide the notice required by Utah Code Ann. 13-37-201 to – much less

 obtain any form of consent from – its Utah-based customers before they made

 purchases from TEN or before TEN disclosed their Private Purchase Information to

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 third parties for compensation.

       48.     By and through these actions, TEN has disclosed to third parties its

 Utah-based customers’ Private Purchase Information for compensation without

 providing the requisite prior notice of such disclosures, in direct violation of the

 NISNPIA.

                        CLASS ACTION ALLEGATIONS

       49.    Plaintiff seeks to represent a class defined as all persons in Utah who

 had their Private Purchase Information obtained by TEN on or after January 1, 2004

 as a result of a consumer transaction and who, at any point during the applicable

 statutory period, had such Private Purchase Information disclosed by TEN to one or

 more third party (the “Class”). Excluded from the Class is any entity in which TEN

 has a controlling interest, and officers or directors of TEN.

       50.    Members of the Class are so numerous that their individual joinder

 herein is impracticable. On information and belief, members of the Class number in

 the thousands. The precise number of Class members and their identities are

 unknown to Plaintiff at this time but may be determined through discovery. Class

 members may be notified of the pendency of this action by mail and/or publication

 through the distribution records of TEN.

       51.    Common questions of law and fact exist as to all Class members and

 predominate over questions affecting only individual Class members. Common

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 legal and factual questions include, but are not limited to: (a) whether TEN is a

 “commercial entity” within the meaning of the NISNPIA; (b) whether TEN provided

 the notice required by the NISNPIA to Plaintiff and Class members before they

 entered into consumer transactions with TEN; (c) whether TEN obtained Plaintiff’s

 and Class members’ Private Purchase Information as a result of consumer

 transactions, and whether such information constitutes “nonpublic personal

 information” within the meaning of the NISNPIA; (d) whether TEN disclosed

 Plaintiff’s and Class members’ Private Purchase Information to a third party; and (e)

 whether TEN’s disclosures of Plaintiff’s and the Class’s Private Purchase

 Information to third parties violated the NISNPIA.

       52.    The claim of the named Plaintiff is typical of the claims of the Class in

 that the named Plaintiff and the members of the Class all suffered invasions of their

 statutorily protected right to privacy (as afforded by the NISNPIA) as a result of

 TEN’s uniform wrongful conduct, based upon TEN’s disclosures of Plaintiff’s and

 the Class’s Private Purchase Information.

       53.    Plaintiff is an adequate representative of the Class because her interests

 do not conflict with the interests of the Class members she seeks to represent, she

 has retained competent counsel experienced in prosecuting class actions, and she

 intends to prosecute this action vigorously. The interests of Class members will be

 fairly and adequately protected by Plaintiff and her counsel.

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        54.    The class mechanism is superior to other available means for the fair

 and efficient adjudication of the claims of Class members. Each individual Class

 member may lack the resources to undergo the burden and expense of individual

 prosecution of the complex and extensive litigation necessary to establish TEN’s

 liability. Individualized litigation increases the delay and expense to all parties and

 multiplies the burden on the judicial system presented by the complex legal and

 factual issues of this case. Individualized litigation also presents a potential for

 inconsistent or contradictory judgments. In contrast, the class action device presents

 far fewer management difficulties and provides the benefits of single adjudication,

 economy of scale, and comprehensive supervision by a single court on the issue of

 TEN’s liability. Class treatment of the liability issues will ensure that all claims and

 claimants are before this Court for consistent adjudication of the liability issues.

                                CAUSE OF ACTION
                      Violation of Utah’s Notice of Intent to Sell
                        Nonpublic Personal Information Act
                              (Utah Code Ann. § 13-37)

        55.    Plaintiff repeats the allegations contained in the foregoing paragraphs

 as if fully set forth herein.

        56.    Plaintiff brings this claim individually and on behalf of members of the

 Class against TEN.

        57.    TEN maintains a place of business in Utah, and in the ordinary course

 of its business enters into transactions with consumers in Utah. Accordingly, TEN

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 is a “commercial entity” within the meaning of the NISNPIA. See Utah Code Ann.

 § 13-37-102(2)(a).

       58.     TEN’s sales of tangible and/or intangible property to Plaintiff,

 including subscriptions to the newspaper The Economist, were initiated or

 completed in Utah, where Plaintiff resided at the time of the transaction.

 Accordingly, TEN entered into one or more “consumer transaction” with Plaintiff

 within the meaning of the NISNPIA. See id. § 13-37-102(4)(a)(i).

       59.     As a result of such consumer transactions, TEN obtained information

 pertaining to Plaintiff that Plaintiff provided at TEN’s request, and which TEN

 would not otherwise have obtained but for entering into such consumer transactions

 with Plaintiff. See id. § 13-37-201(1)(b). This information, referred to herein as

 Plaintiff’s Private Purchase Information, included Plaintiff’s “purchasing habits”

 and “personal preferences” within the meaning of the NISNPIA.

       60.   At various times during the applicable statutory period, TEN disclosed

 Plaintiff’s Private Purchase Information, which identified her as a purchaser of

 TEN’s products, in at least three ways.

       61.   First, TEN disclosed customer lists containing Plaintiff’s Private

 Purchase Information to data aggregators and data appenders, who then

 supplemented the lists with additional sensitive information from their own

 databases, before sending the lists back to TEN.


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       62.    Second, TEN disclosed mailing lists containing Plaintiff’s Private

 Purchase Information to data cooperatives, who in turn gave TEN access to their

 own consumer list databases.

       63.    Third, TEN rented, sold, and/or otherwise disclosed its customer lists

 containing Plaintiff’s Private Purchase Information—enhanced with additional

 information from data aggregators and appenders—to third parties, including other

 consumer-facing companies, direct-mail advertisers, and organizations soliciting

 monetary contributions, volunteer work, and votes.

       64.    Because many of TEN’s customer lists included the additional

 information from the data aggregators and appenders, the lists were more valuable

 and TEN was able to increase its profits gained from the list rentals and/or

 exchanges.

       65.    TEN made each disclosure of Plaintiff’s Private Purchase Information,

 to each of the entities described in the preceding paragraphs, for compensation –

 namely, money. Indeed, TEN’s disclosures of Plaintiff’s Private Purchase

 Information were made to data aggregators, data appenders, data cooperatives,

 direct-mail advertisers, and organizations soliciting monetary contributions,

 volunteer work, and votes—all in order to increase TEN’s revenue.

       66.    The information TEN disclosed indicates Plaintiff’s name and address,

 as well as the fact that she purchased a subscription to The Economist, which was

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 information not otherwise in the public domain. See id. § 13-37-102(5). Because the

 records or information disclosed by TEN reveal Plaintiff’s “purchasing patterns” and

 “personal preferences,” and “identif[y] [Plaintiff] in distinction from other persons,”

 the records or information TEN disclosed to third parties constitute “nonpublic

 personal information” within the meaning of the NISNPIA. See id. § 13-37-102(5).

       67.    Neither Plaintiff nor any member of the Class consented to TEN

 disclosing their Private Purchase Information to anyone.

       68.    Worse yet, at no time before entering into consumer transactions with

 TEN or providing TEN with their Private Purchase Information did Plaintiff or any

 members of the Class receive the notice required by Utah Code Ann. § 13-37-201.

 Specifically, prior to entering into consumer transactions with Plaintiff and Class

 members and obtaining Plaintiff’s and Class members’ Private Purchase

 Information, TEN failed to provide Plaintiff or any members of the Class with a

 clear and conspicuous notice in dark bold writing (or orally), such that a reasonable

 person would perceive the notice, stating that "[w]e may choose to disclose

 nonpublic personal information about you, the consumer, to a third party for

 compensation." Id. § 13-37-201(3)(a).

       69.    TEN’s disclosures of Plaintiff’s and the Class’s Private Purchase

 Information were not made to third parties in “relat[ion] to the third part[ies]

 providing to [TEN] . . . services, including business outsource services[,] personal

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 or real property[,] or other thing[s] of value,” and the “compensation received by

 [TEN] as part of the transaction[s] [with third parties] [was not] received by [TEN]

 for or in consideration of such “third part[ies] providing to [TEN] [such] services, .

 . . personal or real property[,] or other thing[s] of value.” Id. § 13-37-201(5).

       70.    TEN is not “subject to a federal law or regulation that governs the

 disclosure of nonpublic information to a third party,” nor is TEN “a covered entity

 as defined in 45 C.F.R. Parts 160 and 164.” See Utah Code Ann. § 13-37-201(4).

       71.       By disclosing Plaintiff’s and the Class’s Private Purchase Information

 to third parties for compensation, without providing prior notice to Plaintiff or Class

 members as required by Utah Code Ann. § 13-37-201, TEN violated Plaintiff’s and

 the Class’s statutorily protected right to privacy in their nonpublic personal

 information pertaining to their consumer transactions, as afforded by the NISNPIA.

 See id. § 13-37-202(1) (“A commercial entity may not disclose nonpublic personal

 information that the commercial entity obtained on or after January 1, 2004, as a

 result of a consumer transaction if the commercial entity fails to comply with Section

 13-37-201.”).

       72.    On behalf of herself and the Class, Plaintiff seeks: (1) $500.00 to

 Plaintiff and each Class member, for each time Defendant failed to provide them the

 notice required by the NISNPIA in relation to their Private Purchase Information,

 pursuant to Utah Code Ann. § 13-37-203(2)(a); and (2) costs pursuant to Utah Code


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 Ann. § 13-37-203(2)(b).

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly

 situated, seeks a judgment against Defendant as follows:

              A.     For an order certifying the Class under Rule 23 of the
                     Federal Rules of Civil Procedure and naming Plaintiff as a
                     representative of the Class and Plaintiff’s attorneys as Class
                     Counsel to represent the Class;

              B.     For an order declaring that Defendant’s conduct as
                     described herein violated Utah’s Notice of Intent to Sell
                     Non-Public Information Act;

              C.     For an order finding in favor of Plaintiff and the Class on
                     all counts asserted herein;

              D.     For an award of $500.00 to Plaintiff and each Class
                     member, for each time Defendant failed to provide them
                     the notice required by the NISNPIA in relation to their
                     Private Purchase Information, as provided by the
                     NISNPIA, Utah Code Ann. § 13-37-203(2)(a);

              E.     For prejudgment interest on all amounts awarded; and

              F.     For an order awarding Plaintiff and the Class their
                     reasonable attorneys’ fees and expenses and costs of suit
                     pursuant to Rule 23 and Utah Code Ann. § 13-37-
                     203(2)(b).

                                  JURY DEMAND

       Plaintiff demands a trial by jury on all causes of action and issues so triable.




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 Dated: December 5, 2023     Respectfully submitted,


                                   PETERS ❘ SCOFIELD
                                   A Professional Corporation


                                   /s/ David W. Scofield
                                   DAVID W. SCOFIELD

                                          -and-

                                   HEDIN HALL LLP
                                   Frank S. Hedin (Pro Hac Vice App.
                                   Pending)
                                   Arun G. Ravindran (Pro Hac Vice App.
                                   pending)

                                   Attorneys for Plaintiff and the Putative Class




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